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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA


JOHNSON                                                              CIVIL ACTION


VERSUS                                                               20-74-SDD-RLB


U.S. POSTAL SERVICES


                                          RULING

          The Court, after carefully considering the Complaint,1 the record, the law

applicable to this action, and the Report and Recommendation2 of United States

Magistrate Judge Richard L. Bourgeois, Jr., dated September 22, 2020, to which no

objection has been filed, hereby approves the Report and Recommendation of the

Magistrate Judge and adopts it as the Court’s opinion herein.

          ACCORDINGLY, the Plaintiff’s Complaint is hereby DISMISSED WITH

PREJUDICE as to her claims for lost wages.

          IT IS FURTHER ORDERED that Plaintiff’s Complaint (Rec. Doc. 1) is hereby

DISMISSED without prejudice as to her tort claims, to the extent said claims have not

prescribed, for lack of subject matter jurisdiction.

          Signed in Baton Rouge, Louisiana the 19th day of October, 2020.



                                       S
                                       CHIEF JUDGE SHELLY D. DICK
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA


1
    Rec. Doc. 1.
2
    Rec. Doc. 17.
